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 * A 0 245D      (Rev. 12103) Judgment in a Criminal Case for Revocations
                 Sheet I




                          SOUTHERN                                     District o f                                     ILLINOIS

          UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                 v.                                            (For Revocation of Probation or Supervised Release)
              CHRISTOPHER G. JERRELL

                                                                              Case Number: 4:99CR40067-001-JPG
                                                                              USM Number: 04782-025
                                                                                                                                           %@        kb,&

                                                                               Judith A. Kuenneke, FPO                  O
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                                                                                                                         :~          ,R
                                                                                                                                      @          1
                                                                                                                                                          ..*.:*>
                                                                                                                                                             %,.

                                                                              Defendant's Attorney
THE DEFENDANT:
i
d admitted guilt to violation of condition(s) as determined by court                              o f the term o f supervision.
     was found in violation o f condition(s)                                                  after denial o f guilt.                        I
                                                                                                                                                 .
                                                                                                                                                 ,    ,
                                                                                                                                                           '   .'".

The defendant is adjudicated guilty o f these violations:

Violation Number                   Nature of Violation                                                                        Violation Ended
 Standard # 6                         The defendant changed residences without prior notification                              5/2/2005




      The defendant is sentenced as provided in pages 2 through                       4       of this judgment. The sentence i s imposed pursuant to
the Sentencing Reform Act o f 1984.
     The defendant has not violated condition(s)                                          and is discharged as to such violation(s) condition.


                                                           ?
         I t is ordered that the defendant must noti the United States attorney for th15district within 30 days of an)
change of nmc, residence, or mailing address untl a11 line,, restitution, costs, and special assessments imposed by this judgment are
fully paid. Ifordered to pay rest~tution,the dcfendant must not~f)the caun and Cn~tedStares attornt.) o f material changes in
ciononllc circumstance,

Defendant's S o e Sec. No.:    XXX-XX-XXXX

Defendant's Date of Birth:     9/29/1975



Defendant's Residence Address:

Buncombe. IL                                                                              V
                                                                               J. Phll G~lbert                                      D ~ s t r ~Judge
                                                                                                                                                ct
                                                                                                                                    Tltle of Judge




Defendant's Mailing Address:                                                                        /
same as above
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 A 0 245D      (Rev. 12103 Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment

                                                                                                        Judgment-   Page   2of       4
 DEFENDANT: CHRISTOPHER G. JERRELL
 CASE NUMBER: 4:99CR40067-001 -JPG


                                                                 IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term o f :
Time Sewed




            The court makes the following recommendations to the Bureau of Prisons:




            The defendant is remanded to the custody of the United States Marshal.

            The defendant shall surrender to the United States Marshal for this district:
                 at                                       a.m.           p.m.    on
                 as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office.

                                                                         RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                         to

 at                                                      with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                                BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
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             Sheet 3 -Supervised Release

DEFENDANT: CHRISTOPHER G. JERRELL
                                                                                                      Judgment-hgc     3of                4

CASE NUMBER: 4:99CR40067-001-JPG
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :
6 months



         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody ofthe Bureau of Prtsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfull pos,ess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
subslance. The defendant ,hall sujmit ;o one drug tea within I S dajs of release from i~nprisonmental~dat least nvo periodic drug tests
thereatler as determined by the court.
     The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     future substance abuse. (Check, if applicable.)
@ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
@ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
     The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
     or is a student, as directed by the probation officer. (Check, if applicable.)
     The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this 'udgment imposes a tjne or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule ofl~aymentssheet of thts judgment.
          The defendant must comply with the standard conditions thathave been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
       the defendant shall not leave the judicial district without the permission of the court or probation officer;
       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
       each month;
       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer;
       the defendant shall support his or her dependents and meet other family responsibilities;
       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
       acceptable reasons;
       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
       controlled substance or any paraphernalta related to any controlled substances, except as prescribed by a phystctan;
       the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       the defendant shall not associ?te,with any persons engaged in criminal activity and shall not associate with any person convicted of
       a felony, unless granted permlsslon to do so by the probatton officer;
       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
       contraband obsewed in plain vtew of the probation officer;
       the defendant shall notify the probation officer within seventy-two hours ofbeing arrestedor questioned by a law enforcement officer;
       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
       as directed by the robation ofticer, the defendant shall notifythird parties ofrisks that may be occasionep by !he defendant's criminal
       record or persona? history or charactertst~c+and shall permtt the probation officer to make such not~ficattonsand to confirm the
       defendant s compliance with such not~ficat~on   requirement.
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           Sheet 3C - Supervised Release

DEFENDANT: CHRISTOPHER G. JERRELL
                                                                                           judgment^^-Page   4 of          4

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                                        SPECIAL CONDITIONS OF SUPERVISION

  The defendant shall participate in a program of mental health treatment, as directed by the probation officer, until such
time as the defendant is released from the program by the probation officer.

  The defendant shall participate as directed and approved by the probation officer in treatment for narcotic addiction, drug
dependence, or alcohol dependence, which includes urin alysis or other drug detection measures . Any participation will
require complete abstinence from all alcoholic beverages. The defendant shall pay for the costs associated with
substance abuse counseling andlor testing based on a co-pay sliding fee scale approved by the United States Probation
Office. Co-pay shall never exceed the total costs of counseling.

  The defendant shall provide a list of his medicines to probation
